Case 7:22-cv-01408-CS-AEK Document 124-3 Filed 07/20/23 Page 1 of 4
       Case 7:22-cv-01408-CS-AEK Document 124-3 Filed 07/20/23 Page 2 of 4


From:              Przybylko, Eric
To:                Ethan Roman
Cc:                Steven Wittels; Burkett McInturff; Nathan Rice; Ripin, Peter M.
Subject:           RE: Cap 111 v. Manhattan Beer - Plaintiffs" Search Terms Counterproposal
Date:              Wednesday, July 19, 2023 6:19:19 PM
Attachments:       image001.png




Ethan,

We write in response to your “proposal” that Defendants add nine custodians “[b]ased on
Defendants’ document production to date.” As this would virtually double the numbers of
custodians currently collected by Defendants and Plaintiffs offer no explanation in the email below
as to why Plaintiffs propose such additional custodians be used (other than a parenthetical notation
of title), Defendants do not intend to accept Plaintiffs’ proposal or provide the other information
requested re these proposed custodians unless Plaintiffs can offer a more substantive reason
beyond titles to put Manhattan Beer to the burden and expense of collecting the ESI of these
custodians. Plaintiffs’ proposal is clearly premature and Plaintiffs should wait until Defendants’
search-based review and production begins before Plaintiffs arbitrarily attempt to impose additional
custodian collection obligations on Defendants.

Eric

From: Ethan Roman <edr@wittelslaw.com>
Sent: Monday, July 17, 2023 6:33 PM
To: Przybylko, Eric <ep@dhclegal.com>; Ripin, Peter M. <PMR@dhclegal.com>
Cc: Steven Wittels <slw@wittelslaw.com>; Burkett McInturff <jbm@wittelslaw.com>; Nathan Rice
<nar@wittelslaw.com>
Subject: Cap 111 v. Manhattan Beer - Plaintiffs' Search Terms Counterproposal

CAUTION: EXTERNAL MAIL. DO NOT CLICK ON LINKS OR OPEN ATTACHMENTS YOU DO NOT TRUST

Eric & Peter –

This email includes Plaintiffs’ proposal for additional custodians and our search terms
counterproposal pursuant to Defendants’ initial proposal as modified in Eric’s July 6 email.

Custodians:

Based on Defendants’ document production to date, Plaintiffs propose adding the following
individuals as custodians:

   1.    George Wertheimer (CFO)
   2.    Eileen Hoy (Chief of Staff)
   3.    Robert Mitchell (VP of Sales)
   4.    Albert Greco (VP of Marketing)
      Case 7:22-cv-01408-CS-AEK Document 124-3 Filed 07/20/23 Page 3 of 4


     5. Adam Snyder (General Sales Manager MBD Wholesale)
     6. John Vacanti (General Sales Manager Corporate Chain Sales)
     7. Joe Murphy (Director, Pricing and Director, Revenue and Portfolio Management)
           a. We also propose Mr. Murphy’s predecessor(s) as custodians
     8. Mark Johnson (CFO)

For these individuals, please identify whether they have any personal email accounts, personal cell
phones, or personal text messaging applications used in connection with any aspect of Manhattan
Beer’s business.

Search Terms:

See the attached document containing Plaintiffs’ counterproposal to Defendants’ initial search terms
proposal. Please also note the following regarding two aspects of Plaintiffs’ counterproposal.

1.    Anchor Sets

There are two “Anchor Sets” contained in Plaintiffs’ counterproposal. These Anchor Sets operate
the same as defined terms, meaning the full defined list of words in footnotes 1 and 2 should be
incorporated into each term using the Anchor Sets.

Anchor Set A includes the terms “deposit* OR carrier* OR carton* OR cardboard* OR mother*” and
Anchor Set B includes the terms “deposit* OR dpst* OR fee* OR *charg* OR bill* OR pay* OR paid*”

As an example of how Plaintiffs’ counterproposal works, term 2 reads “handbook AND (Anchor Set
A).” This term should be run as “handbook AND (deposit* OR carrier* OR carton* OR cardboard*
OR mother*).”

Similarly, term 6 reads (mother* OR carton* OR carrier* OR cardboard*) w/50 (Anchor Set B). This
term should be run as (mother* OR carton* OR carrier* OR cardboard*) w/50 (deposit* OR dpst*
OR fee* OR *charg* OR bill* OR pay* OR paid*).”

2.    Alternate Versions of Terms

We find it helpful to use alternate versions of some terms using “w/#” proximity limitations because
it can quickly cut through disputes regarding whether to use 10, 20, 50, etc. as the proximity term
because there may be not be material differences between the different connectors. You will see
“[Alternate versions:]” preceding any terms where we are doing this. See, e.g., Nos. 6–9.

Best,
Ethan

Ethan D. Roman
WMP | Senior Associate
305 Broadway, Floor 7 | New York, NY 10007
    Case 7:22-cv-01408-CS-AEK Document 124-3 Filed 07/20/23 Page 4 of 4


Phone: 914 775 8862 x106 | Fax: 914 775 8862




IMPORTANT NOTICE:Beware of Cyber Fraud. You should never
wire money to any bank account that our office provides to you via email
without first speaking with our office. Further,do not accept emailed
wiring instructions from anyone else without voice verification from a known
employee of our office. Even if an email looks like it has come from this
office or someone involved in your transaction. Please call us first at a number
you know to be correct for this office to verify the information before wiring
any money. Be particularly wary of any request to change wiring instructions
you already received.
***********************************************************************
STATEMENT OF CONFIDENTIALITY
The information contained in this electronic message and any
attachments to this message are intended for the exclusive use of the
addressee(s) and may contain confidential or privileged information.
If you are not the intended recipient, please notify us immediately
by email reply to sender or by telephone to Davidoff Hutcher & Citron
LLP at (800) 793-2843, ext. 3284, and destroy all copies of this
message and any attachments.
***********************************************************************
